        Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 1 of 17 PageID #:1




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 LINDA A ROBINET,                                  )
                                                   )
                                                       No.
                                 Plaintiff,        )
                                                   )
                                                       Judge
                         v.                        )
                                                   )
                                                       Formerly Case No. 2018 L 011983
 YAM S. TONG, D.O.,                                )
                                                       Circuit Court of Cook County, Illinois
                                                   )
                                 Defendant.        )

                    NOTICE OF REMOVAL OF A CIVIL ACTION AND
                 SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:         Dorothy Brown                              Erron H. Fisher
              Clerk of the Circuit Court                 Fisher & LaMonica, P.C.
              Richard J. Daley Center, Room 1001         100 S Wacker Drive, Suite 1160
              50 West Washington Street                  Chicago, Illinois 60606
              Chicago, Illinois 60602

         The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

         1.       On November 5, 2018, plaintiff Linda A. Robinet commenced the above civil

action against Yam S. Tong, D.O., alleging medical malpractice. A copy of the state court

complaint is attached as Exhibit A. For purposes of this lawsuit, PCC Community Wellness Center

is a private entity that receives grant money from the Public Health Service pursuant to 42 U.S.C.

§ 233. See Exhibit B. In addition, Yam S. Tong, D.O., was acting within the scope of his

employment at the Access Community Health Network with respect to the incidents referred to in

the complaint. Id.
      Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 2 of 17 PageID #:2




       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant Access

Community Health Network was a private entity receiving grant money from the Public Health

Service and that defendant Yam S. Tong, D.O., was acting within the scope of his employment at

the PCC Community Wellness Center with respect to the incidents referred to in the complaint.

Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant Yam S. Tong, D.O.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Yam S. Tong, D.O.

                                              Respectfully submitted,

                                              JOHN R. LAUSCH, Jr.
                                              United States Attorney

                                              By: s/ Gina Brock
                                                 GINA BROCK
                                                 Assistant United States Attorney
                                                 219 South Dearborn Street
                                                 Chicago, Illinois 60604
                                                 (312) 353-7919
                                                 gina.brock@usdoj.gov




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Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 3 of 17 PageID #:3




                       Exhibit A
                                Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 4 of 17 PageID #:4



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Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 6 of 17 PageID #:6



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      Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 7 of 17 PageID #:7




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Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 9 of 17 PageID #:9



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                           Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 10 of 17 PageID #:10



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Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 11 of 17 PageID #:11



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Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 12 of 17 PageID #:12
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                               Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 14 of 17 PageID #:14




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      Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 15 of 17 PageID #:15




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Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 16 of 17 PageID #:16




                         Exhibit B
    Case: 1:19-cv-00574 Document #: 1 Filed: 01/29/19 Page 17 of 17 PageID #:17




                                       CERTIFICATION

       Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Linda A. Robinet v.

Yam S. Tong, D.O., No. 18 L 11983 (Circuit Court of Cook County, Ill.), and all attachments

thereto. On the basis of the information now available, I find that at the relevant times, the PCC

Community Wellness Center (PCC) was a private entity receiving grant money from the Public

Health Service pursuant to 42 U.S.C. § 233. Further, I certify that Yam S. Tong, D.O., was acting

within the scope of his employment at the PCC Community Wellness Center with respect to the

incidents referred to in the complaint. Accordingly, for purposes of the above case, Yam S. Tong,

D.O., is deemed to be an employee of the United States pursuant to 42 U.S.C. § 233, for federal

statutory tort purposes only.


                                               Thomas Walsh
                                              THOMAS P. WALSH
                                              Chief, Civil Division
                                              Office of the United States Attorney
                                                  for the Northern District of Illinois

Date: December 22, 2018
